              Case 1:20-cv-11612-GAO              Document 74-4        Filed 11/22/22       Page 1 of 1


Severance, Ethan

From:                              McDonough, Joanna
Sent:                              Tuesday, November 8, 2022 2:40 PM
To:                                'Bruce Assad'; 'Robert Novack'; 'Rachel McCarthy'
Cc:                                Garcia, Christian; Severance, Ethan; Donovan, Caroline
Subject:                           RE: Fernandes - Second Set RFPs to Souza and Hodgson


Counsel,

Please let us know when we can expect your response to Plaintiff’s Second Sets of RFPs, which are now overdue.

Joanna

From: McDonough, Joanna <jmcdonough@foleyhoag.com>
Sent: Wednesday, October 5, 2022 1:21 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel:

Attached for service please find Plaintiff’s Second Sets of RFPs to Defendants Souza and Hodgson. As a courtesy, these
will also be sent in hard copy via First Class Mail.

Regards,
Joanna


Joanna McDonough | Associate


FOLEY
HOAG LLP
Seaport West
155 Seaport Boulevard
Boston, Massachusetts 02210-2600

jmcdonough@foleyhoag.com e-mail
617.832.3050 phone
617.832.7000 fax

www.foleyhoag.com




                                                            1
